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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

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UNITED STATES OF AMERICA, Case No. 2:10-cr-578-APG-GWF
Plaintiff,
Vv.
LINDA LIVOLSI,
Defendant.

The United States moves for the interlocutory sale of a specific parcel of real
property. (Dkt. #222.) The United States quotes the relevant factors set forth in
Supplemental Rule G(7)(b)(i)(A)-(D) of the Federal Rules of Civil Procedure, but offers no
evidence or argument to support its allegation that those factors are satisfied here. For
instance, there is no evidence that the property is decaying or deteriorating while in the
custody of the marshal; there is no evidence of the taxes or mortgage; there is no evidence
that the expense of keeping the property is excessive. The United States simply repeats
the four factors in conclusory fashion. (/d. at 4-5.) While | have the power to order such a
sale (Fed. R. Crim. P. 32.2(b)(7)), that does not mean | must, or that | can or should in the
absence of convincing evidence. If the United States wants to sell the property, it must
demonstrate that the factors set forth in Supplemental Rule G(7)(b)(i)(A)-(D) are satisfied
here.

IT IS ORDERED that the United States’ Motion for Interlocutory Sale (Dkt. #222)
is DENIED WITHOUT PREJUDICE.

Dated: September 25, 2015.

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ANDREW P. GORDON
UNITED STATES DISTRICT JUDGE

